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                            UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

 MARTY HIERHOLZER, an individual, et al.             )
                                                     )
                 Plaintiffs,                         )
                                                     )
 v.                                                  )   Case No. 2:23-cv-24
                                                     )
 SMALL BUSINESS ADMINISTRATION, et                   )
 al.,                                                )
                                                     )
                 Defendants.                         )

      DEFENDANTS’ BRIEF IN SUPPORT OF MOTION TO DISMISS COMPLAINT

        Plaintiffs MJL Enterprises, LLC, and Marty Hierholzer allege that Section 8(a) of the Small

Business Act (“Act”) and related regulations are unconstitutional, in violation of the Fifth

Amendment and nondelegation doctrine, and also that the Defendants violated the Administrative

Procedure Act (“APA”) when they promulgated regulations pursuant to Section 8(a) of the Act.

Plaintiffs’ claims all fail, and the Court should dismiss their Complaint in its entirety, because

Plaintiffs lack standing and, as such, this Court does not have subject matter jurisdiction. Plaintiffs’

claims that the Act violates the Fifth Amendment and the nondelegation doctrine also fail to state

a claim upon which relief can be granted. Plaintiffs’ facial claim that the Small Business

Administration’s (“SBA”) regulations violate the Fifth Amendment similarly fails to state a claim.

Additionally, Plaintiffs’ claim that the statute and regulations diminishes their eligibility for the

Section 8(a) program is untimely and should be dismissed for that reason as well.

                                          BACKGROUND

I.      Overview of the Section 8(a) Business Development Program

        Congress enacted the Small Business Act of 1953 (“the Act”), 15 U.S.C. § 631 et seq., to

“aid, counsel, assist and protect . . . the interests of small-business concerns in order to preserve
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free competitive enterprise” and to ensure a “fair proportion” of government contracts go to small

businesses. 15 U.S.C. § 631(a). The Act establishes several programs to aid small businesses,

including requiring federal agencies to reserve certain contracts exclusively for small businesses.

Id. § 644(j)(1). In addition to establishing contracting preferences and other programs for small

businesses in general, the Act includes several programs that create contracting preferences for

small businesses that satisfy certain criteria, including small businesses owned and controlled by

women, see id. § 637(m); small businesses owned and controlled by service-disabled veterans, id.

§ 657f-1; and the program at issue here, which is for “socially and economically disadvantaged”

small business concerns, i.e., the Section 8(a) Business Development Program (“8(a) program”),

id. § 637(a).

       Through the 8(a) program, the SBA provides contract, financial, technical, and

management assistance to promote the business development and competitive viability of eligible

small businesses. Id. § 631(f)(2). Just as the Act authorizes the SBA to provide contracting

assistance to small businesses in general, it also authorizes the SBA to enter into contracts with

other federal agencies and to provide access to these contracts to 8(a) program participants. See id.

at § 637(a)(1); 13 C.F.R. § 124.501(a). Contracts awarded through the 8(a) program may either be

awarded competitively with other program participants or may be reserved for a particular firm

(i.e., sole source awards). 13 C.F.R. § 124.501(b). The Act does not include a quota, but instead

creates the aspirational goal for the federal government to spend at least five percent of its

contracting dollars with businesses owned by socially and economically disadvantaged

individuals, with an overall goal of awarding at least 23 percent of the total value of all prime

contracts in a fiscal year to small businesses in general. 15 U.S.C. § 644(g)(1)(A)(i), (iv). Socially


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and economically disadvantaged businesses including those in the 8(a) program receive

approximately 5-6% of the federal procurement budget every year. See Robert Jay Dilger and R.

Corrine Blackford, Cong. Rsch. Serv., R44844, SBA’s “8(a) Program”: Overview, History, and

Current Issues (2022) at pg. 35 Table 4 (https://sgp.fas.org/crs/misc/R44844.pdf) (visited Mar. 20,

2023).

         Eligibility for the 8(a) program is limited to small businesses that are at least 51 percent

unconditionally owned and controlled by one or more “socially and economically disadvantaged”

individuals who are of good character and citizens of the United States, and which demonstrate a

potential for success in competing in the private sector. Id. at § 637(a)(4)(A), (7)(A); 13 C.F.R.

§ 124.101. Socially disadvantaged individuals are defined as “those who have been subjected to

racial or ethnic prejudice or cultural bias because of their identity as a member of a group without

regard to their individual qualities” and due to “circumstances beyond their control.” 15 U.S.C.

§ 637(a)(5); 13 C.F.R. § 124.103(a). An SBA regulation provides that program applicants who are

members of certain designated groups, including Black Americans, Hispanic Americans, Native

Americans, Asian Pacific Americans, and Subcontinent Asian Americans, are entitled to a

rebuttable presumption of social disadvantage. 13 C.F.R. § 124.103(b)(1). This presumption may

be rebutted with “credible evidence to the contrary.” Id. at § 124.103(b)(3). Individuals who are

not members of one of these groups may demonstrate social disadvantage by submitting evidence

that shows, by a preponderance of the evidence, that a distinguishing characteristic has contributed

to substantial social disadvantage, which has limited their entry or advancement in the business

world. Id. at § 124.103(c)(1)-(2).




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       Regardless of how social disadvantage is established, all applicants for the 8(a) program

must meet the standard for economic disadvantage as well. An economically disadvantaged

individual is one whose “ability to compete in the free enterprise system has been impaired due to

diminished capital and credit opportunities as compared to others in the same business area who

are not socially disadvantaged.” 15 U.S.C. § 637(a)(6)(A). In evaluating economic disadvantage,

the SBA considers the personal financial condition of the individual claiming disadvantaged status,

including income for the prior three years, personal net worth, and the fair market value of all

assets. 13 C.F.R. § 124.104(c). 1

       Participation in the 8(a) program is limited to a maximum of nine years, 13 C.F.R. § 124.2,

but participants will graduate from the program earlier if they meet certain business achievements.

13 C.F.R. § 124.302(a)(1)-(2). For example, businesses will graduate from the 8(a) program if they

exceed certain size standards that correspond to their primary North American Industry

Classification System (“NAICS”) code. 13 C.F.R. § 124.302(c). In addition, program participants

must certify annually that they continue to meet program requirements and provide financial and

other information to allow the SBA to verify the participant’s continued eligibility. 15 U.S.C.

§ 637(a)(4)(C), (6)(B); 13 C.F.R. § 124.112.




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  For initial eligibility for the 8(a) program, an individual’s average adjusted gross income
generally cannot exceed $400,000 over the three years preceding the submission of the 8(a)
application. Id. § 124.104(c)(3). An individual’s net worth must be less than $850,000 for initial
8(a) program eligibility. Id. § 124.104(c)(2). Finally, the fair market value of an individual’s assets
must not exceed $6.5 million for initial 8(a) program eligibility. Id. § 124.104(c)(4). Ownership in
the 8(a) business and equity in the individual’s primary personal residence are included for
purposes of valuing assets, but not for calculating net worth. 15 U.S.C. § 637(a)(6)(E); 13 C.F.R.
§ 124.104(c)(2).
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II.    Summary of Plaintiffs’ Allegations

       According to Plaintiffs’ Complaint, Marty Hierholzer is the owner of MJL Enterprises,

LLC, which is a government contractor that started providing government contracting services in

2006. ECF No. 1 at ¶¶ 2 and 14. Hierholzer is not a member of a group that, under its regulations,

the SBA presumes is socially disadvantaged. Id. at ¶ 47. He submitted applications to the SBA for

entry into the 8(a) program in 2009 and 2016 and SBA denied both applications. Id. at ¶¶ 54-55.

He appealed the denial of his 2016 application and the SBA’s Office of Hearings and Appeals

affirmed the denial in 2017. Id. at ¶ 55. Hierholzer learned during this time period that the SBA

found other individuals to be socially disadvantaged based on their race. Id. at ¶ 63. 2

       Plaintiffs allege that the Act and the regulations that comprise the 8(a) program harm them

in two primary ways. First, Plaintiffs allege that they are on unequal footing when they apply for

participation in the 8(a) program because of the race-conscious presumption of social disadvantage

in the SBA’s regulations, specifically 13 C.F.R. § 124.103(b), (hereafter “application harm”). Id.

at ¶¶ 67-68. Second, Plaintiffs allege that they have suffered harm because they cannot compete




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   According to Hierholzer, he participates in the federal government’s service-disabled veteran
owned small business (“SDVOSB”) program (ECF No. 1 at ¶ 25) which, like the 8(a) program,
provides contracting assistance to eligible government contractors. See 13 C.F.R. § 128.101.
Contracts placed into the SDVOSB program are either “sole sourced” to individual SDVOSBs or
restricted to competition amongst only SDVOSBs and are thus unavailable to be set-aside in the
8(a) program. Id. Unlike the 8(a) program, the SDVOSB program does not require participants to
establish that they are economically disadvantaged. 13 C.F.R. § 128.200(b). There is no order of
preference for contracting officials as to which SBA program federal government small business
contracting officers must use when taking small business contracts outside of full and open
contracting. 13 C.F.R. § 125.2(f)(2)(i). The Veterans Administration previously administered the
SDVOSB program but now SBA administers it. See https://www.sba.gov/federal-
contracting/contracting-assistance-programs/veteran-contracting-assistance-programs      (visited
Mar. 20, 2023). The federal government annually aims to award 3% of all federal contracting
dollars to SDVOSB’s. Id.
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for government contracts on equal footing with contractors in the 8(a) program (hereafter

“competition harm”). Id.

       Plaintiffs’ Complaint includes five Claims for Relief. Claims I and II allege that the SBA’s

regulations and the Act violate the Fifth Amendment’s Equal Protection Clause. Claims III and V

allege that the SBA violated the APA because the regulations setting forth the race-conscious

presumption of social disadvantage exceed statutory authority and are arbitrary and capricious.

Claim IV alleges that the Act violates the APA because it is an unconstitutional delegation of

authority to the SBA.

       All of these Claims for Relief fail because Plaintiffs lack standing. Claim for Relief IV also

fails to state a claim upon which relief can be granted because the Act does not violate the

nondelegation doctrine. Additionally, Claims for Relief I and II fail to state a claim upon which

relief may be granted because the Act and regulations do not violate the Fifth Amendment’s Equal

Protection Clause and, in any event, these Claims are untimely.

                                   STANDARD OF REVIEW

       Federal Rule of Civil Procedure 12(b)(1) governs the arguments addressed in Section I of

the Argument portion of this brief because Plaintiffs lack standing to bring their claims. Under

Rule 12(b)(1), a defendant may challenge subject matter jurisdiction in two ways, each of which

supports dismissal here. First, a defendant can show that a complaint “simply fails to allege facts

upon which subject matter jurisdiction can be based.” Beck v. McDonald, 848 F.3d 262, 270 (4th

Cir. 2017) (cleaned up). This is a “facial challenge” to subject matter jurisdiction. Id. For such

challenges, “the plaintiff, in effect, is afforded the same procedural protection as he would receive

under a Rule 12(b)(6) consideration where the complaint’s allegations “are taken as true” and


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courts must grant the defendant’s motion if there are insufficient allegations “to invoke subject

matter jurisdiction.” Id. (cleaned up).

       Second, the defendant may contend that the “the jurisdictional allegations of the complaint

[are] not true.” Id. (cleaned up). This is a “factual” challenge to subject matter jurisdiction. Id. For

factual challenges, courts may go beyond the complaint’s allegations and consider evidence to

assess “if there are facts to support the jurisdictional allegations without converting the motion to

a motion for summary judgment.” Id. (cleaned up). As discussed below, Plaintiffs lack standing

on both facial and factual grounds.

       Federal Rule of Civil Procedure 12(b)(6) governs the arguments addressed in Sections II

to V of the Argument portion of this brief because Plaintiffs Claims for Relief I, II, and IV fail to

state claims upon which relief may be granted. When ruling on a 12(b)(6) motion, a court must

determine whether the complaint contains “sufficient factual matter, accepted as true, to state a

claim to relief that is plausible on its face.” Harvey v. Cable News Network, Inc., 48 F.4th 257,

268 (4th Cir. 2022) (cleaned up). To survive a motion to dismiss under Rule 12(b)(6), a “plaintiff

must plausibly allege facts that, if proven, would be sufficient to establish each element of the

claim.” Harvey, 48 F.4th at 269. Mere “conclusory statements” will not suffice. Id. at 269 (quoting

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

                                            ARGUMENT

I.     This Court Lacks Subject Matter Jurisdiction Because Plaintiffs Lack Standing

         Federal courts are courts of “limited jurisdiction.” Just. 360 v. Stirling, 42 F.4th 450, 458

(4th Cir. 2022) (cleaned up). “No matter how interesting or elegant a party’s argument, the federal

courts have no power to breathe life into disputes” that come to them without such jurisdiction. Id.


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(cleaned up). Among the “many jurisdictional questions” federal courts must consider, “standing

is ‘perhaps the most important.’” Id. (cleaned up). Article III standing is “part and parcel of the

constitutional mandate” that the federal courts extend their power only to “cases and

controversies.” Baehr v. Creig Northrop Team, P.C., 953 F.3d 244, 252 (4th Cir. 2020); see also

U.S. Const. art. III, § 2. This constitutional mandate therefore requires parties “invoking a federal

court’s jurisdiction to demonstrate standing.” Id.

       Article III standing requirements ensure that plaintiffs have a “personal stake in the

outcome of the controversy.” Buscemi v. Bell, 964 F.3d 252, 258 (4th Cir. 2020) (cleaned up).

Strict enforcement of Article III standing is particularly important where, as here, a court is asked

to rule on the constitutionality of action by the executive and legislative branches. See Carpenter

v. Barnhart, 894 F.2d 401, 1990 WL 2314 (4th Cir. 1990) (citing Valley Forge Christian Coll. v.

Ams. United for Separation of Church & State, Inc., 454 U.S. 464, 472 (1982)).

       Article III standing has three elements: “(1) an injury in fact, (2) that is fairly traceable to

the challenged conduct of the defendant, and (3) that is likely to be redressed by a favorable judicial

decision.” Buscemi, 964 F.3d at 258 (cleaned up). Where, like here, a plaintiff seeks injunctive

relief, the plaintiff satisfies the injury in fact element either by “demonstrating ‘a sufficient

imminent injury in fact’ or by demonstrating ‘an ongoing injury.’” Garey v. James S. Farrin, P.C.,

35 F.4th 917, 922 (4th Cir. 2022) (cleaned up). At the pleading stage, it is the plaintiff who must

“clearly . . . allege facts demonstrating” each element. Spokeo, Inc. v. Robins, 136 S. Ct. 1540,

1547 (2016).

       Here, Plaintiffs lack standing because, on the face of their Complaint, they have not

plausibly alleged any of the three elements that are required to establish Article III standing. Any


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injury Plaintiffs complain of cannot be traced to the challenged actions of any of the Defendants.

Nor would a favorable decision by the Court redress the speculative, vague harms Plaintiffs raise.

Finally, they fail to sufficiently allege an injury in fact. For these reasons, the Court lacks subject

matter jurisdiction over their claims.

        A. Plaintiffs Lack Standing Because They Have Not Plausibly Alleged Causation

        To satisfy Article III’s causation requirement for standing, a plaintiff must establish that

there is “a causal connection between the injury and the [defendant’s] conduct” at issue. Disability

Rts. S.C. v. McMaster, 24 F.4th 893, 901 (4th Cir. 2022) (cleaned up). Plaintiffs “must be able to

demonstrate that the alleged harm was caused by the defendant” rather than “the independent

action of some third party not before the court.” Id. (cleaned up); see also Howard v. New Jersey

Dept. of Service, 667 F.2d 1099, 1101-02 (3d Cir. 1981) (holding no causation where female

applicants for police officer were not hired because they failed the written exam and not the

physical agility test they sought to invalidate).

        Plaintiffs cannot plausibly trace their alleged injuries to the race-conscious presumption in

SBA’s regulations. They have not sufficiently pled that MJL can compete for the sought-after 8(a)

program contracts in the first place even if the race-conscious presumption in the program were

removed. Section 8(a) program participants must be economically as well as socially

disadvantaged. The 8(a) program defines economically disadvantaged individuals as those with

“diminished capital and credit opportunities as compared to others in the same business area who

are not socially disadvantaged.” 15 U.S.C. § 637(a)(6)(A); see also ECF No. 1 at ¶ 33. The SBA

considers the individual’s income for the prior three years, personal net worth, and the fair market

value of all assets. 13 C.F.R. § 124.104(c). Likewise, initial eligibility for the 8(a) program includes


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 income and net worth restrictions, as well as restrictions on an individual’s assets. Id.

 §§ 124.104(c)(2)-(4).

         For example, in SRS Technologies, Inc. v. Department of Defense, the United States Court

 of Appeals for the Fourth Circuit considered a challenge, like here, to the race-conscious

 presumption in the 8(a) program. 1997 WL 225979, at *1 (4th Cir. 1997). The court observed that

 it was not plausible that SRS could participate in the 8(a) program because “its owner is a

 multimillionaire whose net worth exceeded SBA’s guidelines for economic disadvantage by

 several orders of magnitude.” Id. Because the economic disadvantage criteria were “race neutral,”

 and the plaintiff failed to qualify based on this race neutral criteria, the court held that the plaintiff

 lacked standing to challenge the race-conscious presumption in the 8(a) program. Id.

         Here, Plaintiffs fail to allege that Hierholzer is economically disadvantaged—despite it

 being a necessary criterion to participate in the 8(a) program. ECF No. 1 at ¶ 33; see generally

 ECF No. 1. While Plaintiffs allege that MJL is “legally recognized as a small business under the

 terms of the 8(a) Program,” ECF No. 1 at ¶ 14, the requirements for qualifying as a small business

 and qualifying as economically disadvantaged are very different. Compare 13 C.F.R. § 121.201

 (setting small business size standards by industry based on number of employees or annual

 receipts) with 15 U.S.C. § 637(a)(6)(A) (defining economic disadvantage as “socially

 disadvantaged individuals whose ability to compete in the free enterprise system has been impaired

 due to diminished capital and credit opportunities”). The Complaint says nothing about whether

 Hierholzer currently suffers from diminished capital and credit opportunities.

         Plaintiffs have thus failed to allege that MJL could qualify for the 8(a) program, even

 without the race-conscious presumption that Plaintiffs are challenging. Similar to the business


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 owner in SRS Technologies, Plaintiffs here have not plausibly alleged that MJL could participate

 in the 8(a) program because of a race neutral reason: the economic disadvantage criteria. SRS,

 1997 WL 225979, at *1. As in SRS Technologies, therefore, Plaintiffs here lack standing. Nor have

 Plaintiffs plausibly alleged that they are socially disadvantaged in the absence of the race-

 conscious presumption.

        What is more, Plaintiffs have already attempted to prove social disadvantage twice, per the

 Complaint, and been denied entry to the Section 8(a) program each time. ECF No. 1 at ¶¶ 54-55.

 In 2017, the SBA’s Office of Hearings and Appeals affirmed the SBA’s finding that Hierholzer is

 not socially disadvantaged, and the Complaint does not include any allegations that would yield a

 different result now, even in the absence of the race-conscious objection. In the Matter of: MJL

 Enterprises, LLC, Petitioner, SBA No. BDPE-566, 2017 WL 8231365 (Dec. 18, 2017).

        Plaintiffs attempt to stitch together a causal connection between the race-conscious

 presumption and their allegedly unequal footing when they apply for participation in the 8(a)

 program, i.e., the application harm described above. ECF No. 1 at ¶¶ 67-68. They theorize that the

 presumption “makes it less likely that the SBA will grant 8(a) eligibility to MJL.” Id. at ¶ 69. This

 theoretical application harm is pure speculation. See Bell Atlantic Corp. v. Twombly, 550 U.S. 544,

 555 (2007) (“Factual allegations must be enough to raise a right to relief above the speculative

 level.”). The race-conscious presumption does not make it any more or less likely that SBA would

 grant 8(a) eligibility to MJL because, as discussed above, Hierholzer cannot show that he is

 economically or socially disadvantaged.

        Plaintiffs further contend that, because of the race-conscious presumption, MJL cannot

 compete for contracts under the 8(a) program that it “could successfully procure and perform”


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 otherwise, i.e., the competition harm described above, is similarly flawed. Id. ¶ 70. These are not

 factual allegations entitled to the presumption of truth, but pure speculation. See Twombly, 550

 U.S. at 555. In the absence of the race-conscious presumption, the 8(a) program would still exist.

 Plaintiffs—who, as discussed above, have failed, for reasons independent of the presumption, to

 plausibly allege eligibility to participate in the program—still, therefore, could not compete for

 contracts in the 8(a) program. The only way that the race-conscious presumption could cause this

 alleged competition harm, then, is if Plaintiffs could prove that fewer contractors would participate

 in the 8(a) program in the absence of the presumption. Plaintiffs make no such allegations. Nor

 could they, without speculating about what an alternative 8(a) program might look like without

 the presumption.

        As a sister district court in the Fourth Circuit has observed, “it would be pure speculation

 for the Court to conclude that judicial removal of the presumption would diminish the number of

 DBE program eligible participants.” Interstate Traffic Control v. Beverage, 101 F. Supp. 2d 445,

 453 (S.D. W.Va. 2000) (concluding that plaintiff “failed to show that the presumption of

 disadvantage enjoyed by certain minorities under the DBE program is causally related to its alleged

 injury-in-fact, the inability to compete on an equal footing for 100% of” contracts in the field). 3

 Here, too, Plaintiffs cannot establish causation because they fail to allege that MJL will compete




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   In Interstate Traffic Control, the plaintiff business was challenging a federal contracting program
 that included certain racial and gender preferences similar to those in the 8(a) program. Id. at 447.
 Businesses that benefit from presumptions of disadvantage in that program, like those at issue in
 the 8(a) program, must still certify their disadvantage and the owner’s personal net worth. Id. at
 453. The court reasoned that unless those businesses were “fraudulently certifying disadvantage
 and fraudulently misrepresenting their net worth,” it requires speculation to presume that the
 number of businesses participating—and consequently, MJL’s competition—would change if the
 presumption of disadvantage is eliminated. Id.
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 against fewer companies qualifying for the Section 8(a) program if its presumption of disadvantage

 is eliminated.

        To conclude, Plaintiffs cannot plausibly trace MJL’s alleged injuries to the race-conscious

 presumption in the SBA regulation rather than MJL’s own inability to meet the social and

 economic disadvantage criteria. See Disability Rts. S.C., 24 F.4th at 901; Harvey, 48 F.4th at 268.

        B. Plaintiffs Lack Standing Because a Favorable Decision Would Not Redress Plaintiffs’
           Alleged Injuries
        Under the redressability element of standing, a plaintiff must show that the court “has the

 power to grant the plaintiff’s requested relief, and that such relief would redress the plaintiff’s

 injury.” Buscemi, 964 F.3d at 259. A “speculative” showing is insufficient. Lujan v. Defenders of

 Wildlife, 504 U.S. 555, 560-61 (1992). At the pleading stage, the plaintiff must “clearly . . . allege

 facts demonstrating” each element. Spokeo, 136 S. Ct. at 1547.

        Plaintiffs seek a declaratory judgment that the 8(a) program’s race-conscious presumptions

 are unlawful and an injunction against Defendants prohibiting them from “employ[ing] a racial

 preference in presuming that race alone qualifies an individual as socially disadvantaged.” ECF

 No. 1 at 12. But Plaintiffs fail to plausibly allege how this relief would redress their alleged injury

 for two reasons, which independently support dismissal. First, they fail to plausibly allege that

 MJL would be eligible for the 8(a) program if the Court eliminated the challenged race-conscious

 presumption. Second, Plaintiffs fail to plausibly allege that they would experience any beneficial

 change from the elimination of the presumption.

        First, even if this Court invalidated the race-conscious presumption in the SBA regulation,

 the 8(a) program would remain operative without that presumption, and Plaintiffs would be in the

 exact place they are now. The rebuttable presumption is just one method for business owners to

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 qualify as socially disadvantaged. 13 C.F R.§ 124.103(c)(l). Thus, if the Court were to grant

 Plaintiffs’ requested relief, MJL would still have to demonstrate that Hierholzer is socially and

 economically disadvantaged to get into the 8(a) program. As described above, because Plaintiffs

 have not pled facts sufficient to plausibly allege that, absent the race-conscious presumption, they

 would be deemed socially or economically disadvantaged, they cannot show that striking down

 the presumption “would redress [their] injury” and allow them into the program. Buscemi, 964

 F.3d at 259.

        Second, even if Hierholzer was determined to be socially and economically disadvantaged,

 a favorable outcome for Plaintiffs in this case would not benefit them in any way. To demonstrate

 redressability, Plaintiffs must plead facts showing it is “likely” their injuries will “be redressed by

 a favorable judicial decision.” Bell, 964 F.3d at 258 (quoting Spokeo, 136 S. Ct. at 1547). As

 explained above, Plaintiffs’ contentions that the presumption “makes it less likely that the SBA

 will grant 8(a) eligibility to MJL” (the application harm) and that MJL cannot compete for

 contracts under the 8(a) program that it could otherwise “successfully procure and perform” (the

 competition harm) are pure speculation. ECF No. 1 at ¶¶ 69, 70; see Lujan, 504 U.S. at 560-61.

        With respect to the alleged application harm, if the Court eliminated the race-conscious

 presumption in SBA’s regulations, Plaintiffs would face the same eligibility requirements they

 face today. To be eligible for the 8(a) program, they would still need to prove that they are socially

 and economically disadvantaged. Thus, the relief that Plaintiffs seek would not help them become

 participants in the 8(a) program.

        Plaintiffs’ claim that eliminating the race-conscious presumption would redress their

 alleged competition harm is also speculative. As Interstate Traffic explained for a similar program,


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 removing the presumption at issue “would not alter the number or identity of socially and

 economically disadvantaged individuals eligible to participate” in the 8(a) program. Interstate

 Traffic, 101 F. Supp. 2d at 453. Plaintiffs here have failed to assert that program participants are

 failing to “truthfully certify[] social and economic disadvantage” or that the program suffers from

 any kind of fraud. Id. Without such an allegation, the program’s impact on MJL’s business “would

 continue unaltered.” Id.

        Plaintiffs here are similarly situated to the plaintiff in Cache Valley Electric Co. v. Utah

 Department of Transportation, 149 F.3d 1119, 1123-24 (10th Cir. 1998). In Cache Valley, the

 Tenth Circuit dismissed a contractor’s equal protection challenge to a federal contracting program 4

 for businesses owned by socially and economically disadvantaged individuals, which included

 certain racial and gender preferences. Similar to the 8(a) program, the program at issue in Cache

 Valley included size requirements measured by average annual gross receipts, and the plaintiff’s

 gross revenues exceeded the statutory limit to qualify as a “small” business. Id. at 1121. The

 plaintiff there made the same argument Plaintiffs make here: that elimination of the challenged

 racial and gender preferences would result in the plaintiff procuring and performing more

 contracts. Id. at 1123. The Tenth Circuit disagreed, finding “it would be pure speculation to

 conclude that invalidating the allegedly unconstitutional preferences would ameliorate plaintiff’s

 ability to compete in any way.” Id. This was because the challenged race-conscious presumption

 is “severable from the rest of the DBE program and thus the program would remain viable even

 absent those preferences.” Id. at 1123. The same is true for Plaintiffs’ claim here because the 8(a)




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  Like in Interstate Traffic, the federal contracting program at issue in Cache Valley was the
 Department of Transportation’s DBE program. Id. at 1120.
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 program would continue without the race-conscious presumption and there is no reason to believe

 that the elimination of the presumption would lead to any change to the number of participants in

 the 8(a) program.

        In short, Plaintiffs lack standing because, for multiple independent reasons, they have failed

 to plausibly allege that the relief they seek “would redress [their alleged] injury.” Buscemi, 964

 F.3d at 259.

        C. Plaintiffs Lack Standing Because They Have Not Plausibly Alleged an Injury in Fact

        To establish an injury in fact, a plaintiff must plead an injury that is “concrete and

 particularized” and “actual or imminent.” Id.at 258-59 (quoting Lujan, 504 U.S. at 560). Injuries

 that are “conjectural or hypothetical” are insufficient. Id. at 259 (quoting Lujan, 504 U.S. at 560).

 “Threatened” injuries “must be certainly impending,” while “‘[a]llegations of possible future

 injury’ are insufficient.” Id. (cleaned up). Similarly, the Supreme Court has explained that

 “[a]lthough imminence is concededly a somewhat elastic concept, it cannot be stretched beyond

 its purpose, which is to ensure that the alleged injury is not too speculative for Article III

 purposes—that the injury is certainly impending[.]” Lujan, 504 U.S. at, 564 n.2 (emphasis in

 original; cleaned up). Where, as here, a plaintiff challenges the constitutionality of a statute, the

 plaintiff must show that there is a “realistic danger” the plaintiff will suffer “a direct injury”

 because of “the terms of the statute.” Buscemi, 964 F.3d at 259 (cleaned up). Furthermore, when a

 government contracting program that provides contracting preferences is at issue, courts look at

 whether the program prevents the plaintiff from competing “on equal footing in the bidding

 process” to evaluate injury in fact. Interstate Traffic, 101 F. Supp. 2d at 450 (citing Ne. Fla.

 Chapter of the Assoc. Gen. Contractors of Am. v. City of Jacksonville, 508 U.S. 656, 666 (1993)).


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         Interstate Traffic, in which the court found that the plaintiff sufficiently pled an injury in

 fact, is instructive for its marked distinctions to this case. In Interstate Traffic, the plaintiff business

 was deemed ineligible for the DBE program and alleged that the program caused the business

 harm. Id. at 449. There was no dispute that the plaintiff business did not qualify for the DBE

 program because it did not meet the business size eligibility requirement. Id. at 450. The court

 reasoned that therefore, the only way the business could show an injury-in-fact was to allege that

 it had lost out on certain contracts due to the DBE program. Id. The business alleged that it

 “submitted the low subcontractor bid for traffic control on five federally-assisted highway

 construction projects.” Id. at 450. And yet it lost all of them to a contractor participating in the

 program. Id. The court concluded that the business sufficiently pled injury-in-fact based on the

 alleged “lost business,” which the court described as “the failure to receive contracts on which it

 was the low bidder.” Id.

         Here, by contrast, Plaintiffs fail to point to any specific loss of business and, thus, fail to

 sufficiently allege an injury in fact. Plaintiffs do not allege that MJL ever competed with an 8(a)

 program participant for a contract. Plaintiffs make no allegations that they submitted bids on

 federal projects, that they were the lowest bidder on any such bids, or that they failed to receive

 any contracts on such bids. Nor did Plaintiffs allege that they lost bids to an 8(a) program

 participant or that they lost business in any other way. See Interstate Traffic, 101 F. Supp. 2d at

 450. Plaintiffs’ failure to plausibly allege that MJL ever lost a contract bid because of the 8(a)

 program requirements at issue compels a finding that Plaintiffs fail to allege a “concrete” or an

 “actual or imminent” injury because of their exclusion from the 8(a) program. Curtis v. Propel

 Property Tax Funding, LLC, 915 F.3d 234, 240 (4th Cir. 2019) (cleaned up).


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        Without any lost contract bids to point to, Plaintiffs’ alleged application and competition

 harms amount to claims of potential injury that is, at best, “conjectural,” “hypothetical,” or

 “abstract”—and insufficient to allege an injury in fact as required for standing. Id. (cleaned up).

 And of course, the conclusory allegation that MJL is “harmed” is also insufficient. ECF No. 1 at

 ¶ 74; see Iqbal, 556 U.S. at 678 (holding that courts are not “bound to accept as true a legal

 conclusion couched as a factual allegation”(cleaned up)). Plaintiffs’ failure to allege cognizable

 harms are particularly curious in light of public records available on the System for Award

 Management (SAM.gov) Data Bank, which demonstrate that since 2006 MJL has encountered

 notable success in the federal government’s service-disabled veteran owned small business

 program and participated in thousands of contract actions with federal government agencies

 totaling close to $130 million dollars. See Attachment A, MJL SAM.gov Records Request, and

 Attachment B, Declaration of Sam Le. 5

        Plaintiffs fare no better under City of Jacksonville. There, the plaintiff, an association of

 general contractors, challenged a Jacksonville set-aside program. City of Jacksonville, 508 U.S.

 at 658. The program required 10 percent of the amount the city spent on contracts be set aside for

 “Minority Business Enterprises (MBE’s).” Id. (cleaned up). The only way a business could

 become an MBE was if 51 percent of its ownership was minority, as defined by ordinance, or

 female. Id. Jacksonville later replaced the ordinance with one available only to female or Black-




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   Defendants offer this Declaration in support of a factual challenge to subject matter jurisdiction.
 For factual challenges, the Court may go beyond the Complaint’s allegations and consider
 evidence to assess if there are facts supporting Plaintiffs’ jurisdictional allegations. Beck, 848 F.3d
 at 270 (cleaned up). Here, Defendants contend that Plaintiffs’ conclusory allegation that MJL is
 “harmed,” ECF No. 1 at ¶ 74, is not true. The Declaration demonstrates that Plaintiffs are, in fact,
 not economically disadvantaged.
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 owned businesses. Id. at 661. The Court held that the plaintiff association suffered an injury in

 fact. Id. at 669. The Court repeatedly emphasized that the Jacksonville program was a “barrier”

 that completely prevented the plaintiff association from participating in the program. Id. at 666

 (describing Jacksonville as “erect[ing] a barrier” and “impos[ing]” a “barrier” that “prevents”

 plaintiff from participating in the program). The complete bar on the plaintiff from bidding on

 contracts set aside for participants in Jacksonville’s program was the plaintiff’s injury. Id. Here,

 however, the race-conscious presumptions in the 8(a) program is no such barrier for this plaintiff.

 While the Jacksonville program only permitted minority and female-owned businesses, id. at 658

 (and later, Black and female-owned businesses, id. at 661) to participate, the 8(a) program is not

 so narrow. As described above, the 8(a) program allows anyone, no matter their race or gender,

 to demonstrate social advantage by submitting evidence that a distinguishing characteristic has

 contributed to substantial social disadvantage, which has limited their entry or advancement in

 the business world. 13 C.F.R. §124.103(c)(1)-(2). According to the Complaint, Plaintiffs

 themselves took advantage of this opportunity twice—and failed both times. ECF No. 1 at ¶¶ 54-

 55. The 8(a) program is not the barrier causing Plaintiffs’ injury. The barrier is Plaintiffs’ own

 failure to demonstrate social disadvantage to the SBA.

         In sum, Plaintiffs have failed to show that their asserted abstract injuries are “concrete,”

 “imminent,” or “certainly impending,” and therefore they have no injury in fact. Buscemi, 964

 F.3d at 258-59. Because Plaintiffs lack standing, the Court should dismiss their Complaint in its

 entirety.




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 II.    Plaintiffs’ Claim Under the Nondelegation Doctrine Lacks Merit

        Claim IV of the Complaint alleges that the race-conscious presumption violates the APA

 because Congress unconstitutionally delegated authority to SBA “to make or enact racial

 classifications” and to “determine whether someone belongs to a particular minority group.” ECF

 No. 1 at ¶ 109. The D.C. Circuit rejected this same claim in Rothe Dev., Inc. v. United States Dep’t

 of Def., 836 F.3d 57, 74 (D.C. Cir. 2016), and this Court should do so as well.

        The nondelegation doctrine prohibits the delegation of authority from one branch of

 government to another in a way “that frustrates the constitutional design.” Kerpen v. Metro.

 Washington Airports Auth., 907 F.3d 152, 160–61 (4th Cir. 2018) (affirming order that granted

 motion to dismiss; cleaned up). Under the nondelegation doctrine, when Congress directs an

 agency to exercise its discretion or judgment, Congress must “clearly delineate[] the general

 policy, the public agency which is to apply it, and the boundaries of this delegated

 authority.” Mistretta v. United States, 488 U.S. 361, 372-373 (1989). A statute that provides an

 “intelligible principle” to guide the agency’s decisions does not violate the nondelegation doctrine;

 a violation is found only if the statute provides “literally no guidance.” Id. at 372; see

 also Whitman v. American Trucking Ass’ns, 531 U.S. 457, 474 (2001) and United States v.

 Moriello, 980 F.3d 924, 932 (4th Cir. 2020). Thus, the “government does not bear an onerous

 burden in demonstrating the existence of an intelligible principle.” S. Carolina Med. Ass’n v.

 Thompson, 327 F.3d 346, 350 (4th Cir. 2003). “Only the most extravagant delegations of authority,

 those providing no standards to constrain administrative discretion, have been condemned by the

 Supreme Court as unconstitutional.” Humphrey v. Baker, 848 F.2d 211, 217 (D.C. Cir. 1988).

 Indeed, “[o]nly twice in this country’s history (and that in a single year)” has the Supreme Court


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 “found a delegation excessive—in each case because ‘Congress had failed to articulate any policy

 or standard’ to confine discretion.” Gundy v. United States, 139 S. Ct. 2116, 2129 (2019) (emphasis

 not added).

        This case does not present one of those rare occurrences where Congress violated the

 nondelegation doctrine. Congress provided SBA with an intelligible principle for how it could

 determine which individuals qualify for the 8(a) program. Language in 15 U.S.C. § 637(a)(5) sets

 forth the definition of “socially disadvantaged individuals” to assist SBA in identifying appropriate

 program participants. Rothe, 836 F.3d at 454. Similarly, the language in 15 U.S.C. § 631(f)(1)

 states the findings made by Congress in enacting the 8(a) program and expresses the policy behind

 the program, both of which serve to guide SBA in its implementation of the 8(a) program. The

 SBA’s authority to designate groups is further informed by the examples of such racial groups, 15

 U.S.C. § 631(f)(1)(C), which Congress has found have suffered the effects of discriminatory

 practices or similar invidious circumstances over which they have no control, 15 U.S.C. §

 631(f)(1)(B), and by the purpose of the Act to promote the business development of small

 businesses owned by socially and economically disadvantaged individuals, 15 U.S.C.

 § 631(f)(2)(A).

        These provisions in the Act provide far more guidance to SBA than principles the Supreme

 Court has found adequate in statutes that merely authorize regulation in the “public interest,” in a

 way that is “fair and equitable,” in a manner “requisite to protect the public health,” and when

 “necessary to avoid an imminent hazard to the public safety.” Rothe, 836 F.3d at 74. The Act also

 provides far more guidance to SBA than another statute the Fourth Circuit recently upheld against

 a nondelegation challenge, which simply authorizes federal agencies to promulgate “regulations


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 necessary for the protection and administration of property owned or occupied by the Federal

 government and persons on the property.” Moriello, 980 F.3d at 933. For these reasons, Plaintiffs’

 Claim IV should be dismissed pursuant to Rule 12(b)(6) because it fails to state a claim upon which

 relief may be granted.

 III.   Plaintiffs’ Facial Equal Protection Challenge to the Act Lacks Merit

        Plaintiffs’ claim that the Act violates the Fifth Amendment’s Equal Protection Clause 6 on

 its face lacks merit because the Act only needs to satisfy rational basis review, and it easily does.

 Statutes that do not classify individuals based on race or other suspect categories only need to

 satisfy rational basis review, which requires courts to merely assess whether the statute has a

 “rational relation to some legitimate end.” Van Der Linde Hous., Inc. v. Rivanna Solid Waste Auth.,

 507 F.3d 290, 293 (4th Cir. 2007). By contrast, when a statute classifies individuals based on race,

 courts apply strict scrutiny to equal protection challenges and analyze whether the statute serves a

 compelling government purpose and is narrowly tailored to achieve that purpose. Adarand

 Constructors, Inc. v. Pena, 515 U.S. 200, 227 (1995).

        In Rothe, the D.C. Circuit held that Section 8(a) of the Act does not on its “face classify

 individuals by race” and instead it uses “facially race-neutral terms of eligibility to identify

 individual victims of discrimination, prejudice, or bias, without presuming that members of certain

 racial, ethnic, or cultural groups qualify as such.” 836 F.3d at 62. The Rothe court held that because

 the Act focuses on benefiting individuals who have experienced discrimination, as opposed to

 benefiting all individuals of certain races, it does not have to satisfy strict scrutiny. Id. at 64. As



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   Plaintiffs’ allegation that the Act violates the Fifth Amendment’s Equal Protection Clause is
 found in paragraphs 76 and 93 of the Complaint.

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 such, the Rothe court applied rational basis review to assess the equal protection challenge to the

 Act. Id. at 72-73. 7

         The Rothe court held that the Act “plainly” satisfies rational basis review because it “bears

 a rational relation to some legitimate end.” Id. at 73 (cleaned up). The Act “aims to remedy the

 effects of prejudice and bias that impede business formation and development and suppress fair

 competition for government contracts,” which is clearly a legitimate end. Id. The Act is also

 rationally related to that end because it provides the benefits that “socially and economically

 disadvantaged individuals most need to participate on fair terms in the national economy.” Id. 8

 This Court should follow the sound reasoning of the Rothe court and dismiss Plaintiffs’ claim that

 the Act violates the Fifth Amendment’s Equal Protection Clause. 9

 IV.     Plaintiffs’ Facial Equal Protection Challenge to the Regulations Lacks Merit

         The Court should also dismiss Plaintiffs’ claim that the race-conscious presumption in the

 SBA’s regulations facially violates the Fifth Amendment’s Equal Protection Clause. A facial

 constitutional challenge is “the most difficult challenge to mount successfully, since the challenger




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   SBA’s regulations, in contrast, do classify individuals based on race. 13 C.F.R. § 124.103(b)(1).
 This section of the United States’ motion only relates to Plaintiffs’ challenge to the Act. Plaintiffs’
 challenge to the regulations is discussed below. See Section IV infra.
 8
   The Rothe court relied on legislative history to make its findings on the Act’s aims and its relation
 to those aims. A court may consider such legislative history when ruling on a motion to dismiss
 under Rule 12(b)(6). Murphy-Taylor v. Hofmann, 968 F. Supp. 2d 693, 711 fn. 17 (D. Md. 2013)
 (legislative history was subject to judicial notice under Rule 12(b)(6)).
 9
   The United States took the position in the briefing in Rothe that the Act was subject to strict
 scrutiny. The United States took this position against the backdrop of the D.C. Circuit’s decision
 in DynaLantic Corp. v. Department of Defense, in which the court cast doubt on the United States’
 argument that the Act “is not itself race-conscious.” 115 F.3d 1012, 1017 (D.C. Cir. 1997)
 (DynaLantic I). In light of the decision in Rothe, the United States’ position in this litigation is the
 same as it was in connection with DynaLantic I – the Act itself does not classify based on race.
 Thus, the Act should be subject to only rational basis review.
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 must establish that no set of circumstances exists under which the [challenged government action]

 would be valid.” United States v. Salerno, 481 U.S. 739, 745 (1987). Thus, a plaintiff that asserts

 a facial constitutional challenge “bears a heavy burden” and must show that the challenged law

 “cannot operate constitutionally under any circumstance.” H.B. Rowe Co. v. Tippett, 615 F.3d 233,

 243 (4th Cir. 2010) (applying Salerno test in equal protection case). When the government uses

 racial classifications in a statute or regulation in order to counteract race discrimination or its

 lingering effects – as the SBA did with the race-conscious presumption in 13 C.F.R. § 124.103 –

 the plaintiff must show that the government did not have a “strong basis in evidence” to find it

 “necessary or appropriate” to use the challenged racial classifications “under any circumstances.”

 DynaLantic Corp. v. U.S. Dep’t of Def., 885 F. Supp. 2d 237, 271 and 274 (D.D.C. 2012)

 (DynaLantic II).

        In DynaLantic II, the court examined the same facial challenge to the 8(a) program that the

 Plaintiffs have raised here – and the court rejected the challenge. 885 F. Supp. 2d at 279. The

 DynaLantic II court examined the “extensive statistical and anecdotal evidence” that Congress

 compiled and held that this evidence supported the government’s claim that it had a “strong basis

 in evidence” to justify the use of race-conscious measures to further the compelling interest of

 “breaking down barriers to minority business development created by discrimination and its

 lingering effects.” Id. at 270 and 273-74. The court correctly held that, to prevail, the plaintiff had

 to show that there was no strong basis in evidence to believe that race discrimination or its lingering

 effects existed in “any sector or industry in the economy.” Id. at 271.

        The Complaint in this case contains no allegations that would plausibly lead to a different

 result than the court reached in DynaLantic II. Plaintiffs have not pled sufficient facts to plausibly


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 allege that there are “no set of circumstances” that would justify the race-conscious presumption

 in the SBA’s regulations. Id. at 271. Nor have they plausibly alleged that no sector or industry in

 the economy suffers from the problems of race discrimination or its lingering effects. They have,

 in fact, made no allegations about the economy as a whole apart from, perhaps, conclusory

 statements, which are insufficient to defeat a motion to dismiss. Thus, this Court should dismiss

 Plaintiffs’ facial challenge to the SBA’s regulations.

 V.       Plaintiffs’ Claim for Relief based on its Eligibility for the 8(a) Program is Untimely

          The Court should dismiss Plaintiff’s first claim for relief, see ECF No. 1 at ¶¶ 76-90, insofar

 as that claim is based on MJL’s eligibility to participate in the 8(a) Program because Plaintiffs did

 not file this suit within the applicable statute of limitations. Because there is no statutory cause of

 action supporting Plaintiffs’ claim, they must rely on a cause of action implied from the

 Constitution. See e.g., Bell v. Hood, 327 U.S. 678, 684 (1946) and Bivens v. Six Unknown Named

 Agents of Fed. Bureau of Narcotics, 403 U.S. 388, 389 (1971). Because the Constitution does not

 provide for a specific statute of limitations, courts look to state law for the statute of limitations of

 the most analogous state law claim and apply that limitation period. In Virginia, the statute of

 limitations for an implied Constitutional claim is two years. Kirchhoff v. United States Gov’t, No.

 7:18CV00489, 2019 WL 1930134, at *4 (W.D. Va. Apr. 30, 2019), aff’d, 788 F. App’x 193 (4th

 Cir. 2019) and Bloch v. Exec. Off. of the President, 164 F. Supp. 3d 841, 860 fn. 27 (E.D. Va.

 2016).

          Federal law dictates when the two-year statute of limitations begins to run, i.e., when a

 cause of action accrues. “Under federal law a cause of action accrues when the plaintiff possesses

 sufficient facts about the harm done to him that reasonable inquiry will reveal his cause of action.”


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 Nasim v. Warden, Maryland House of Correction, 64 F.3d 951, 955 (4th Cir. 1995). For a cause

 of action to accrue, the plaintiff must know “that he has been hurt and who inflicted the injury.”

 Id. This general rule applies to constitutional claims challenging the continued enforcement of a

 statute. See Bird v. Dep’t of Human Svcs., 935 F.3d 738, 744-46 (9th Cir. 2019) (discussing Fourth

 Circuit case law). For example, in Johnson v. Jessup, the plaintiffs filed an equal protection

 challenge to a state statute that required the revocation of individuals’ drivers licenses if they did

 not pay certain fines. 381 F. Supp. 3d 619, 623 (M.D.N.C. 2019). The Johnson court dismissed

 some of the plaintiffs’ claims as untimely because, even though they continued to suffer harm from

 the statute within the limitations period, the state revoked their licenses outside of the limitation

 period. Id. at 636.

         When it is clear from the facts alleged in the complaint that a claim is time-barred, a court

 may dismiss it pursuant to Rule 12(b)(6). Nasim, 64 F.3d at 955. Plaintiffs’ Complaint indicates

 that any claim for relief based on MJL’s eligibility for the 8(a) program should have been filed by

 2019. See ECF No. 1 at ¶ 76. Plaintiffs’ alleged harms flow from SBA’s denial of their applications

 to the 8(a) program because if the SBA had approved their applications, they would be “standing

 on equal footing” as all other 8(a) program participants. Id. at ¶ 67. According to Plaintiffs, Mr.

 Hierholzer applied for the 8(a) program in 2009 and 2016, and his 2016 application was ultimately

 denied in 2017, after he exhausted his appeals. Id. at ¶¶ 54-55. Because Plaintiffs knew that the

 Defendants had deemed them ineligible for the 8(a) program in 2017, Plaintiffs’ challenges based

 on their ineligibility had to be filed by 2019, when the two-year statute of limitations expired. But

 Plaintiffs chose to sit on their rights after the denial of their application and, therefore, Claim I




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 based on Plaintiff’s harm from its denial of eligibility for the 8(a) program should therefore be

 dismissed.

 Conclusion

        The Court should dismiss Plaintiffs’ Complaint in its entirety because Plaintiffs lack

 standing or, in the alternative, it should dismiss Plaintiffs’ Complaint in part for the other reasons

 discussed above.

 Date: March 20, 2023                           Respectfully submitted,

                                                KAREN D. WOODARD
                                                Chief
                                                Employment Litigation Section
                                                Civil Rights Division
                                                United States Department of Justice

                                                ANDREW BRANIFF (IN Bar No. 23430-71)
                                                Deputy Chief


                                                By: /s/ Allan K. Townsend
                                                Allan K. Townsend (ME Bar No. 9347)
                                                Ejaz H. Baluch, Jr. (MD Bar No. 1612130032)*
                                                Trial Attorneys
                                                Employment Litigation Section
                                                Civil Rights Division
                                                United States Department of Justice
                                                150 M Street, N.E.
                                                Washington, D.C. 20002
                                                (202) 353-5343
                                                Allan.Townsend2@usdoj.gov
                                                Ejaz.Baluch@usdoj.gov
                                                * Notice of Appearance will be filed once Court
                                                grants access to ECF system.

                                                JESSICA D. ABER
                                                UNITED STATES ATTORNEY

                                                /s/ Virginia L. Van Valkenburg
                                                Virginia L. Van Valkenburg

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                                               Assistant United States Attorney
                                               Virginia State Bar No. 33258
                                               United States Attorney’s Office
                                               101 West Main Street, Suite 8000
                                               Norfolk, Virginia 23510
                                               Tel: (757) 441-3217
                                               Fax: (757) 441-6689
                                               Virginia.VanValkenburg@usdoj.gov


                                 CERTIFICATE OF SERVICE

         I certify that I served the foregoing document on all counsel of record via the Court’s
 electronic filing system on the date below.

 Date: March 20, 2023                          /s/ Allan K. Townsend




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